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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                       CASE No.: 1:20-cv-21887-GAYLES/OTAZO-REYES

  COMMODITY FUTURES TRADING
  COMMISSION,

         Plaintiff,

  v.

  DANIEL FINGERGUT, ET AL.,

         Defendants.

  AICEL CARBONERO

        Relief Defendant.
  ________________________________________/

                                              ORDER

         THIS CAUSE comes before the Court upon the Receiver’s Fourth Interim Application for

  an Order Approving and Authorizing Payment of Fees and Expenses of Receiver and Her

  Professionals (the “Application”) [ECF No. 275]. The Court, having reviewed the Application,

  noting that the fees and costs requested therein are reasonable, necessary and commensurate with

  the skills and experience required for the activities performed and described therein, and that no

  objection to the Application has been filed, and otherwise being fully advised in the matter, finds

  good cause to approve the Application and grant the relief requested therein.

         Accordingly, it is ORDERED AND ADJUDGED as follows:

                 1.     The Receiver’s Fourth Interim Application for an Order Approving and

         Authorizing Payment of Fees and Expenses of Receiver and Her Professionals, [ECF No.

         275], is APPROVED.
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                   2.      The total amount of fees and costs that the Receiver 1 and her Lead Counsel,

            Damian & Valori LLP, incurred regarding work performed fulfilling the Receiver’s duties

            during the Application Period in the amount of $92,629.07 is hereby APPROVED.

                   3.      The Receiver is AUTHORIZED to pay the Receiver and her Lead Counsel,

            Damian & Valori LLP, the amount of $92,629.07 (which total includes $79,508.00 in fees

            and $13,121.07 in costs) for work performed fulfilling the Receiver’s duties.

                   4.      The total amount of fees and costs that the Forensic Accountants, Kapila

            Mukamal, LLP, incurred regarding work performed fulfilling the Receiver’s duties during

            the Application Period in the amount of $5,718.26 is hereby APPROVED.

                   5.      The Receiver is AUTHORIZED to pay to her Forensic Accountants,

            Kapila Mukamal, LLP, the amount of $5,718.26 (which total includes $5,684.00 in fees

            and $34.26 in costs) for work performed fulfilling the Receiver’s duties.

                   6.      The Court reserves final approval of all fees approved herein until such time

            as the Receiver is discharged of her duties in this matter and/or final disbursement of funds

            held by the Estate.

            DONE AND ORDERED in Chambers at Miami, Florida, this 17th day of November,

  2021.

                                                  _______________________________________
                                                  DARRIN P. GAYLES
                                                  UNITED STATES DISTRICT COURT JUDGE



  Copies to:       All Counsel of Record




  1
      Capitalized terms not defined herein shall have the same ascribed meaning as in the Application.
